     Case 5:12-cr-40006-DDC   Document 42   Filed 04/12/12   Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                Plaintiff,
     vs.                               Case No. 12-40006-03-RDR

DENNIS AUGUSTINE,

                Defendant.


                                O R D E R

     This case is before the court upon defendant’s unopposed

motion for leave to file pretrial motions out of time.                     The

deadline passed for filing pretrial motions as defendant was

contemplating entering a plea of guilty.       Defendant decided not to

plead guilty, which caused the court to delay these proceedings and

set a later trial date.       The trial date is currently set for May

22, 2012.

     Defendant’s motion shall be granted.          Defendant is granted

time until April 25, 2012 to file pretrial motions. The government

is granted time until May 2, 2012 to reply to defendant’s motions.

A hearing upon the motions shall be scheduled for May 7, 2012 at

10:00 a.m.

     IT IS SO ORDERED.

     Dated this 12th day of April, 2012 at Topeka, Kansas.


                                  s/Richard D. Rogers
                                  United States District Judge
